AO 450 (Rev.USDC     IN/ND
            01/09) Judgment in acase    1:12-cv-00122-RLM
                                 Civil Action                    document 273 filed 11/12/15 page 1 of 2

                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                    Northern District of Indiana



EMILY HERX
                          Plaintiff
                             v.                                          Civil Action No.      1:12cv122



DIOCESE OF FORT WAYNE-SOUTH                                       )
BEND INC                                                          )
           Defendant                                              )
ST VINCENT DE PAUL SCHOOL                                         )
TERMINATED: 12/03/2014 Defendant                                  )

AMERICAN SOCIETY FOR
REPRODUCTIVE MEDICINE                        Amicus
AMERICAN CIVIL LIBERTIES UNION Amicus
                          Defendant


                                               JUDGMENT IN A CIVIL ACTION


The court has ordered that (check one):

’ the plaintiff (name)                                                                                   recover from the
defendant (name)                                                                                            the amount of
                                                                         dollars ($            ), which includes prejudgment
interest at the rate of                %, plus postjudgment interest at the rate of           %, along with costs.
’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

X other:     case is DISMISSED with prejudice with the parties to bear their own fees and cost.


                                                                                                                               .


This action was (check one):

’ tried by a jury with Judge                                                                    presiding, and the jury has
rendered a verdict.
’ tried by Judge                                                                      without a jury and the above decision
was reached.

X decided by Judge           Robert L Miller                                               on a motion for
         USDC IN/ND case 1:12-cv-00122-RLM document 273 filed 11/12/15 page 2 of 2
Stipulation to Dismiss                                                                         .


Date:       Nov 12, 2015                         CLERK OF COURT


                                                                /s/ Marijana Ciric
                                                          Signature of Clerk or Deputy Clerk
